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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

7800 W JEWELL LLC,                                          Civil Action No.:

       Plaintiff,

v.

TRUCK INSURANCE EXCHANGE,

      Defendant.
______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       COMES NOW Plaintiff, 7800 W Jewell LLC, by and through its undersigned counsel,

and hereby submits this its Complaint against Defendant, Truck Insurance Exchange, and in

support of its Complaint, alleges and avers as follows:

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this action seeking economic and non-economic damages arising

from Defendant’s breach of contract, bad faith conduct and unreasonable delay in the payment of

covered benefits due and owing under Plaintiff’s first-party insurance contract.

                                             PARTIES

       2.      Plaintiff, 7800 W Jewell LLC (“Plaintiff”) is a Colorado Limited Liability

Company with its principal office in Lakewood, Colorado.

       3.      7800 W Jewell LLC has one member, Gary Garcia, a natural person residing in

Lakewood, Jefferson County, Colorado.

       4.      Defendant, Truck Insurance Exchange (“Defendant” or “Truck Insurance”), is a

mutual insurance company organized and existing under the laws of the state of California with its

principal place of business in the state of California.


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                                JURISDICTION AND VENUE

        5.     This court has jurisdiction and venue is proper pursuant to 28 U.S.C. §§ 1332(a)

and 1441. There is complete diversity among the parties and the amount in controversy is in excess

of seventy-five thousand dollars ($75,000.00), exclusive of interest and costs. The property which

is the subject of the claim is located in and the adjustment of the claim occurred in Colorado.

                            FACTS COMMON TO ALL COUNTS

        6.     Plaintiff is the owner of real property located at 7800 West Jewell Avenue,

Lakewood, Jefferson County, Colorado 80232 (“Property”).

        7.     The Property is comprised of ten roofing systems.

        8.     Each roofing system is covered with one of three roofing materials:

                  ethylene propylene diene monomer (EPDM) membrane;
                  granulated modified bitumen (Mod-Bit) membrane; or
                  gravel-ballasted built-up roof (BUR).

        9.     Roofing systems one, two, three, four, five, and six are clad with an ethylene

propylene diene monomer (EPDM) membrane.

        10.    Roofing systems two, seven, eight, and nine are clad with a granulated modified

bitumen (Mod-Bit) membrane.

        11.    Roofing system ten is clad with a gravel ballasted built-up membrane.

        12.    The Property is ventilated via eleven gas-fired/DX packaged rooftop units (RTU),

three split system air-conditioners, two evaporative coolers, one exhaust fan, and one intake/relief

hood.

        13.    Plaintiff purchased a Commercial Real Estate Premier Policy of insurance from

Truck Insurance Exchange under Policy Number 60589-11-11 (the “Policy”).




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       14.     The Policy provides $2,688,700.00 in Building property damage coverage for

Plaintiff’s Property.

       15.     The Policy provides $250,000.00 in Building Ordinance or Law – B & C (Demo &

ICC) Combined coverage for Plaintiff’s Property.

       16.     The Policy was issued with effective dates of January 29, 2017 through January 29,

2018. A true and accurate copy of the Policy is attached hereto as Exhibit “A.”

       17.     The Policy is an all risk policy of insurance.

       18.     The Policy is a replacement cost value policy and covers loss to Plaintiff’s Property.

       19.     The Policy provides coverage for direct physical loss or damage to covered

property at the premises caused by or resulting from any covered cause of loss.

       20.     The Policy does not require that the Property sustain functional damage for

coverage to be afforded to covered property at the premises caused by or resulting from any

covered cause of loss.

       21.     The Policy does not contain a cosmetic exclusion.

       22.     Under the Policy, Truck Insurance agreed to adjust all losses with its insured fairly

and timely.

       23.     Plaintiff paid the premiums due under the Policy in a timely manner, and performed

all duties and responsibilities required of it under the Policy.

       24.     On or about May 8, 2017, during the Policy period, Plaintiff suffered a loss at the

insured Property due to hail and wind.

       25.     The damage from the hail and wind constituted a covered loss under the Policy.

       26.     Plaintiff timely reported the covered loss and damage to Truck Insurance, and made

a claim for the loss and damage to the Property.



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       27.     Truck Insurance assigned Claim Number 3008785258-1-1 to the Property loss.

       28.     Truck Insurance assigned its claims representative, Joe Bartlett, to investigate and

adjust Plaintiff’s claim for direct physical loss to the Property resulting from the hail and wind

storm occurring on May 8, 2017.

       29.     In June 2017, Truck Insurance retained Knott Laboratory, LLC (“Knott”), to

inspect the Property to determine if the roof coverings were damaged as a result of hail impact.

       30.     On or about June 19, 2017, and June 22, 2017, Knott performed a site inspection of

the roof coverings of the Property.

       31.     Knott did not review the insurance policy terms, limits, conditions, or coverages.

       32.     Truck Insurance failed to instruct Knott that the Policy provides coverage for direct

physical loss or damage to covered property at the premises caused by or resulting from any

covered cause of loss.

       33.     Truck Insurance failed to instruct Knott that the Policy does not require that the

Property sustain functional damage for coverage to be afforded to covered property at the premises

caused by or resulting from any covered cause of loss.

       34.     Truck Insurance failed to instruct Knott that the Policy does not contain a cosmetic

exclusion.

       35.     On or about June 29, 2017, Knott drafted a report (“Knott Inspection Report”)

which outlined its conclusions related to its inspections on June 19, 2017, and June 22, 2017. A

copy of the Knott Inspection Report is attached hereto as Exhibit “B.”

       36.     The Knott Inspection Report improperly assumed a hail threshold of 1.50”

hailstones necessary to cause damage to an ethylene propylene diene monomer (EPDM) roofing

system.



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       37.    The Knott Inspection Report improperly assumed a hail threshold of 1.50”

hailstones necessary to cause damage to a modified bitumen (Mod-Bit) roofing system.

       38.    The Knott Inspection Report improperly assumed a hail threshold of 2.50”

hailstones necessary to cause damage a gravel ballasted built-up roofing system.

       39.    The Knott Inspection Report concluded that the Property was potentially impacted

by hail up to 2.00” inches in diameter on May 8, 2017.

       40.    The Knott Inspection Report concluded that the Property was potentially impacted

by hail up to 1.50” in diameter on May 24, 2014.

       41.    The Knott Inspection Report identified punctures consistent with hailstone impact

located within the surface of the Property’s ethylene propylene diene monomer (EPDM) roofing

system.

       42.    The Knott Inspection Report identified a number of indentations to the underlying

substrate that were coincident with spatter marks in the ethylene propylene diene monomer

(EPDM) membrane surface, consistent with impacts from hailstones.

       43.    The Knott Inspection Report identified multiple indentations and fractures in the

underlying polyiso insulation board of the ethylene propylene diene monomer (EPDM) roofing

system.

       44.    The Knott Inspection Report identified circular blemishes located on the surface of

the modified bitumen (Mod-Bit) roofing system.

       45.    The Knott Inspection Report identified the presence of indentations to the

underlayment of the granulated cover sheet of the modified bitumen (Mod-Bit) roofing system.

       46.    The Knott Inspection Report identified the presence of pronounced fracturing of

the underside of the modified bitumen (Mod-Bit) roofing system.



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       47.     The Knott Inspection Report identified blemishes consistent with hailstone impact

to the north and west facing facets of the modified bitumen (Mod-Bit) parapet coverings

surrounding the gravel ballasted built-up roofing system.

       48.     The Knott Inspection Report determined that the ethylene propylene diene

monomer (EPDM) roofing system was damaged by hailstone impact.

       49.     Despite acknowledging that hailstones of up to two inches in diameter impacted the

Property on May 8, 2017, the Knott Inspection Report determined that the damage to the ethylene

propylene diene monomer (EPDM) roofing system was the result of a prior hailstorm event.

       50.     The Knott Inspection Report determined that the modified bitumen (Mod-Bit)

roofing system was damaged by hailstone impact.

       51.     Despite acknowledging that hailstones of up to two inches in diameter impacted the

Property on May 8, 2017, the Knott Inspection Report determined that the damage to the modified

bitumen (Mod-Bit) roofing system was the result of a prior hailstorm event.

       52.     The Knott Inspection Report determined that the gravel ballasted built-up roofing

system was not damaged by hailstone impact.

       53.     On or about July 7, 2017, sixty days after the hail and wind storm, Truck Insurance

provided Plaintiff with a copy of its first damage estimate which outlined only $109,641.09 in

replacement cost value covered damages. A copy of Truck Insurance First Damage Estimate has

been attached hereto as Exhibit “C.”

       54.     Truck Insurance’s first damage estimate failed to include numerous covered

damages, including, but not limited to:

       (a)     Roof One – North Carport
                    Elastomeric roof covering
                    Removal and replacement of 87.00 concrete tiles


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       (b)     Roof Two – EPDM
                    Removal and replacement of 143.00 linear feet of flash parapet wall
                    Removal and replacement of 5.00 pipe jack flashing
                    Detachment and resetting of digital satellite system

       (c)     Roof Three – Modified Bitumen
                    Detachment and resetting of digital satellite system
                    Installation of 421.00 linear feet of perlite cant strips

       (d)     Roof Five – Gravel Ballasted
                     Removal and replacement of 142.00 linear feet of large cap flashing

       (e)     Exterior Damages & General Conditions
                     Two weeks of telehandler/forklift operation
                     80.00 hours of equipment operation
                     HVAC damages in excess of $45,000.00
                     Preparation and painting of 5,980.00 square feet of the rear elevation

       55.     Plaintiff would be reasonably likely to retain the services of a general contractor

based on the complexity of the repairs outlined in Truck Insurance First Damage Estimate.

       56.     While Truck Insurance’s first damage estimate provides for general demolition,

HVAC, roofing, soffit/fascia/gutter, and temporary repairs, Truck Insurance Exchange’s first

damage estimate improperly excludes general contractor overhead and profit.

       57.     Truck Insurance’s failure to provide general contractor overhead and profit within

its first damage estimate has resulted in the delay and denial of the payment of covered benefits to

Plaintiff without a reasonable basis.

       58.     Each of the items outlined in Paragraph 54 were agreed to by Truck Insurance some

five months later in December 2017.

       59.     Due to Truck Insurance deficient investigation, Plaintiff was forced to retain Pivot

Adjusters, a Colorado state licensed public adjusting firm, to assist in the adjustment of Plaintiff’s

claim for direct physical loss to the Property resulting from the May 8, 2017 hail and wind storm.




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       60.     In July 2017, Plaintiff retained DG Draper Consulting, LLC (“DG Draper

Consulting”), an engineering firm specializing in HVAC design and forensic engineering, to

evaluate the damaged HVAC units at the Property and provide repair recommendations.

       61.     On or about August 1, 2017, DG Draper Consulting, LLC, finalized its report (“DG

Draper Consulting Report”).

       62.     The DG Draper Consulting Report concluded that seven of the eleven gas-fired/DX

packaged rooftop units sustained hail damage such that the units must be replaced.

       63.     The DG Draper Consulting Report concluded that two of the three split system air-

conditioners sustained hail damage such that the units must be replaced.

       64.     The DG Draper Consulting Report concluded that the exterior ductwork serving

four of the eleven gas-fired/DX packaged rooftop units and the exhaust fan sustained hail damage.

       65.     The DG Draper Consulting Report concluded that the top cabinet panels of all

eleven rooftop units demonstrated circular dents consisting with being struck by hail.

       66.     The DG Draper Consulting Report concluded that the Property exhaust fan,

intake/relief hood, exhaust duct, twenty-five vent caps, and three intake/relief goosenecks

demonstrated circular dents consisting with being struck by hail.

       67.     The DG Draper Consulting Report recommended, among other things:

                  demolition and replacement of seven of the eleven hail damaged gas-fired/DX
                   packaged rooftop units;
                  demolition and replacement of exterior ductwork serving four of the eleven gas-
                   fired/DX packaged rooftop units;
                  demolition and replacement of the top cabinet panels of four of the eleven gas-
                   fired/DX packaged rooftop units;
                  demolition and replacement of the condensing unit and associated interior
                   evaporator coils of two of the three split system air-conditioners;
                  demolition and replacement of the exhaust fan; and
                  demolition and replacement of twenty-five vent caps.



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       68.     On or about September 5, 2017, Plaintiff’s representative, Pivot Adjusters,

provided Truck Insurance with Plaintiff’s first damage estimate which outlined $914,076.20 in

replacement cost value covered damages. A copy of Plaintiff’s First Damage Estimate is attached

hereto as Exhibit “D.”

       69.     On or about September 5, 2017, Plaintiff’s representative, Pivot Adjusters,

provided Truck Insurance with a copy of the DG Draper Consulting Report. A copy of the DG

Draper Consulting Report is attached hereto as Exhibit “E.”

       70.     On or about September 5, 2017, nearly two months after the issuance of its first

deficient damage estimate, Truck Insurance provided Plaintiff with a copy of its second damage

estimate which outlined $253,201.94 in replacement cost value covered damages. A copy of Truck

Insurance Second Damage Estimate has been attached hereto as Exhibit “F.”

       71.     Truck Insurance’s second damage estimate failed to include numerous covered

damages, including, but not limited to:

       (a)     Roof One – North Carport
                    Elastomeric roof covering
                    Removal and replacement of 87.00 concrete tiles

       (b)     Roof Two – EPDM
                    Removal and replacement of 143.00 linear feet of flash parapet wall
                    Removal and replacement of 5.00 pipe jack flashing
                    Detachment and resetting of digital satellite system

       (c)     Roof Three – Modified Bitumen
                    Detachment and resetting of digital satellite system
                    Installation of 421.00 linear feet of perlite cant strips

       (d)     Roof Five – Gravel Ballasted
                     Removal and replacement of 142.00 linear feet of large cap flashing

       (e)     Exterior Damages & General Conditions
                     Two weeks of telehandler/forklift operation
                     80.00 hours of equipment operation
                     HVAC damages in excess of $45,000.00

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                      Preparation and painting of 5,980.00 square feet of the rear elevation

       72.     Plaintiff would be reasonably likely to retain the services of a general contractor

based on the complexity of the repairs outlined in Truck Insurance Second Damage Estimate.

       73.     While Truck Insurance’s Second Damage Estimate provides for general

demolition, HVAC, roofing, soffit/fascia/gutter, and temporary repairs, Truck Insurance’s First

Damage Estimate improperly excludes general contractor overhead and profit.

       74.     Truck Insurance’s failure to provide general contractor overhead and profit within

its Second Damage Estimate has resulted in the delay and denial of the payment of covered benefits

to Plaintiff without a reasonable basis.

       75.     Each of the items outlined in Paragraph 71 were agreed to by Truck Insurance some

three months later in December 2017.

       76.     Truck Insurance’s second damage estimate included an additional $101,685.21 in

covered damages that were not provided in Truck Insurance’s first damage estimate.

       77.     Truck Insurance’s failure to include the damages outlined in Paragraph 70 within

its first damage estimate resulted in the delay of the payment of $101,685.21 in covered benefits

without a reasonable basis.

       78.     On or about September 27, 2017, over three weeks after the issuance of its second

deficient damage estimate, Truck Insurance provided Plaintiff with a copy of its third damage

estimate which outlined $268,443.68 in replacement cost value covered damages. A copy of Truck

Insurance Third Damage Estimate has been attached hereto as Exhibit “G.”

       79.     Truck Insurance’s third damage estimate failed to include numerous covered

damages, including, but not limited to:

       (a)     Roof One – North Carport
                    Elastomeric roof covering

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                      Removal and replacement of 87.00 concrete tiles

       (b)     Roof Two – EPDM
                    Removal and replacement of 5.00 pipe jack flashing

       (c)     Roof Five – Gravel Ballasted
                     Removal and replacement of 142.00 linear feet of large cap flashing

       (d)     Exterior Damages & General Conditions
                     HVAC damages in excess of $38,000.00
                     Preparation and painting of 5,980.00 square feet of the rear elevation

       80.     Plaintiff would be reasonably likely to retain the services of a general contractor

based on the complexity of the repairs outlined in Truck Insurance Third Damage Estimate.

       81.     While Truck Insurance’s Third Damage Estimate provides for general demolition,

electrical – special systems, heavy equipment, HVAC, roofing, soffit/fascia/gutter, and temporary

repairs, Truck Insurance’s Third Damage Estimate improperly excludes general contractor

overhead and profit.

       82.     Truck Insurance’s failure to provide general contractor overhead and profit within

its Third Damage Estimate has resulted in the delay and denial of the payment of covered benefits

to Plaintiff without a reasonable basis.

       83.     Each of the items outlined in Paragraph 79 were agreed to by Truck Insurance some

three months later in December 2017.

       84.     Truck Insurance Exchange’s Third Damage Estimate included an additional

$15,241.74 in covered damages that were not provided in Truck Insurance Exchange’s First

Damage Estimate.

       85.     Truck Insurance’s failure to include the damages outlined in Paragraph 78 within

its First Damage Estimate resulted in the delay of the payment of $15,241.74 in covered benefits

without a reasonable basis.


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       86.     On or about December 12, 2017, over six months after the hail and wind storm,

Truck Insurance provided Plaintiff with a copy of its fourth damage estimate which outlined

$334,043.72 in replacement cost value covered damages. A copy of Truck Insurance Fourth

Damage Estimate has been attached hereto as Exhibit “H.”

       87.     Plaintiff would be reasonably likely to retain the services of a general contractor

based on the complexity of the repairs outlined in Truck Insurance Fourth Damage Estimate.

       88.     While Truck Insurance’s Fourth Damage Estimate provides for cleaning, general

demolition, electrical – special systems, heavy equipment, HVAC, painting, roofing,

soffit/fascia/gutter, and temporary repairs, Truck Insurance’s Third Damage Estimate improperly

excludes general contractor overhead and profit.

       89.     Truck Insurance’s failure to provide general contractor overhead and profit within

its Fourth Damage Estimate has resulted in the delay and denial of the payment of covered benefits

to Plaintiff without a reasonable basis.

       90.     Truck Insurance’s Fourth Damage Estimate included an additional $65,600.04 in

covered damages that were not provided in Truck Insurance First, Second, or Third Damage

Estimates.

       91.     Truck Insurance’s failure to include the damages outlined in its Fourth Damage

Estimate resulted in the delay of the payment of $65,600.04 in covered benefits without a

reasonable basis.

       92.     Truck Insurance failure to provide general contractor overhead and profit within

ANY of its damage estimates has resulted in the delay and denial of payment of covered benefits

to Plaintiff without a reasonable basis.




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         93.     Despite objective evidence of additional covered damage to the Property, Truck

Insurance continues to improperly deny Plaintiff’s claim for loss to the Property resulting from the

hail storm occurring on May 8, 2017.

         94.     Despite being presented with a comprehensive estimate of covered damages by

Pivot Adjusters, Truck Insurance continues to improperly deny Plaintiff’s claim for loss to the

Property resulting from the hail storm occurring on May 8, 2017.

         95.     Truck Insurance’s continued refusal to indemnify its insured has resulted in the

delay and denial of the payment of over $600,000.00 in covered benefits without a reasonable

basis.

         96.     Plaintiff has fulfilled all duties required of it under the Policy after discovery of the

loss.

         97.     Plaintiff has performed all conditions precedent and subsequent required under the

insurance Policy, or alternatively, have been excused from performance by the acts,

representations, and/or conduct of Defendant.

                                   FIRST CLAIM FOR RELIEF
                                       (Breach of Contract)

         98.     Plaintiff realleges and reaffirms Paragraphs 1-97 as if fully set forth herein.

         99.     Plaintiff purchased an all risk policy requiring Truck Insurance Exchange to pay

for any and all fortuitous damages resulting from a loss not expressly excluded or otherwise limited

by the policy.

         100.    The insurance Policy between Plaintiff and Truck Insurance Exchange is a binding

contract.

         101.    Plaintiff paid premiums and otherwise performed all conditions precedent to

recovery of benefits under its Policy in the insurance contract with Truck Insurance Exchange.

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       102.    Truck Insurance Exchange has denied certain covered damages and continues to

deny certain claimed damages.

       103.    The actions of Truck Insurance Exchange were intended to dissuade Plaintiff in

pursuing benefits due and owing under the terms of the Policy.

       104.    Truck Insurance Exchange failed to perform its contractual duties to adequately

compensate Plaintiff under the terms of the Policy.

       105.    Truck Insurance Exchange has refused to pay the full proceeds of the Policy,

although due demand was made for proceeds to be paid in an amount sufficient to cover the

damaged Property, and all conditions precedent to recover upon the Policy had been carried out

and accomplished by Plaintiff.

       WHEREFORE, Plaintiff, 7800 W Jewell LLC, respectfully requests this Court enter

judgment against Defendant, Truck Insurance Exchange, for damages resulting from its breach of

contract, costs, pre-judgment interest, attorneys’ fees pursuant to applicable law, and such other

relief as the Court deems appropriate.

                               SECOND CLAIM FOR RELIEF
                           (Bad Faith Breach of Insurance Contract)

       106.    Plaintiff realleges and reaffirms Paragraphs 1-105 as if fully set forth herein.

       107.    Under the Policy and Colorado law, Truck Insurance owes its insured the duty of

good faith and fair dealing.

       108.    An insurer breaches its duty of good faith and fair dealing when it engages in unfair

claim settlement practices.

       109.    Truck Insurance sold Plaintiff the Policy at issue, the intent of which was to provide

coverage for direct physical loss or damage to covered property at the Property caused by or

resulting from any covered cause of loss.

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          110.   Truck Insurance knew that Plaintiff purchased the Policy to protect its Property in

the event of a loss.

          111.   Truck Insurance owed Plaintiff the non-delegable duty to investigate its claim

objectively and not look for ways to deny benefits or attempt to not pay the full amount owed.

          112.   Truck Insurance owed Plaintiff the duty to give equal consideration to the financial

interests of Plaintiff, and not give greater consideration to its own financial interests while

investigation and adjusting Plaintiff’s claim.

          113.   Truck Insurance failed to interpret its insurance policy reasonably.

          114.   Truck Insurance failed to resolve doubts concerning insurance coverage in favor of

the policyholder.

          115.   Truck Insurance failed to evaluate the reports received from its consultants to

determine whether the consultant had conducted the necessary investigation of the claim.

          116.   Truck Insurance failed to instruct its consultants on the terms and conditions of the

Policy.

          117.   Truck Insurance failed to conduct a thorough and timely investigation of Plaintiff’s

claim in accordance with insurance industry claims handling standards and practices.

          118.   Truck Insurance knew that its decision to underpay benefits owed to Plaintiff was

intentional and not accidental.

          119.   Truck Insurance knew that it owed an obligation of good faith and fair dealing to

Plaintiff, but misrepresented Policy benefits and failed to complete a full and fair investigation.

          120.   Truck Insurance failed to treat Plaintiff’s interests with equal regard to its own.

          121.   Truck Insurance mischaracterized the facts and coverage to the benefit of itself.




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         122.   Truck Insurance failed to conduct a full, fair, and prompt investigation of Plaintiff’s

claim.

         123.   Truck Insurance failed to objectively evaluate Plaintiff’s claim based on all

available evidence, and not just evidence which Truck Insurance believed supported its position.

         124.   Truck Insurance improperly denied Plaintiff’s claim by failing to examine and

question its retained consultant’s reports to assure that they contained all opinions necessary to

properly evaluate the claim.

         125.   Truck Insurance improperly denied Plaintiff’s claim by failing to examine and

question its retained consultant’s reports to assure that they were based on all relevant and available

evidence.

         126.   Truck Insurance representatives, including Joe Bartlett, received income-based

compensation to quickly close Plaintiff’s claim for direct physical loss or damage to covered

property at the premises caused by or resulting from any covered cause of loss.

         127.   Truck Insurance representatives, including Joe Bartlett, received income-based

compensation to reduce claims payments made to Plaintiff on its claim for direct physical loss or

damage to covered property at the premises caused by or resulting from any covered cause of loss.

         128.   Truck Insurance improperly set claims handling goals to reduce the amount paid on

claims, including Plaintiff’s claim for direct physical loss or damage to covered property at the

premises caused by or resulting from any covered cause of loss.

         129.   Truck Insurance improperly denied Plaintiff’s claim to reduce overall claims

payments.

         130.   Truck Insurance improperly denied Plaintiff’s claim to increase profits.

         131.   Truck Insurance improperly denied Plaintiff’s claim to maintain its loss ratio.



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       132.    Truck Insurance improperly denied Plaintiff’s claim to meet department goals.

       133.    Truck Insurance improperly denied Plaintiff’s claim by providing financial

incentives to its personnel, including Joe Bartlett, to influence claims handling.

       134.    Truck Insurance improperly denied Plaintiff’s claim to reduce the average amount

paid on overall claims.

       135.    Truck Insurance’s conduct in the handling of Plaintiff’s claim demonstrates that

Truck Insurance Exchange was focused on benefiting itself to the detriment of Plaintiff.

       136.    Truck Insurance has committed unfair settlement practices, including, but not

limited to:

               (a)     Truck Insurance Exchange has failed to acknowledge and act reasonably
                       promptly upon communication with respect to claims arising under
                       insurance policies;
               (b)     Truck Insurance Exchange has failed to adopt and implement reasonable
                       standards for the prompt investigation of claims arising under insurance
                       policies;
               (c)     Truck Insurance Exchange refused to pay claims without conducting a
                       reasonable investigation based upon all available information;
               (d)     Truck Insurance Exchange has failed to attempt in good faith to effectuate
                       prompt, fair, and equitable settlements of claims in which liability has
                       become reasonably clear;
               (e)     Truck Insurance Exchange has failed to promptly settle claims, where
                       liability has become reasonably clear, under one portion of the insurance
                       policy coverage in order to influence settlements under other portions of the
                       insurance policy coverage;
               (f)     Truck Insurance Exchange has misrepresented terms and conditions of the
                       Policy in an attempt to influence its Insured to settle for less than all benefits
                       reasonably afforded under the Policy for the subject loss and damage; and
               (g)     Truck Insurance Exchange encourages its claims representatives to engage
                       in unfair claims settlement practices against its Insured, thereby violating
                       applicable laws and regulations of the state of Colorado.

       137.    As a direct and proximate result of Truck Insurance’s action, Plaintiff has:

               (a)     Incurred increased costs to repair, restore and/or replace the significant
                       property damage that was caused by direct physical loss or damaged
                       resulting from the May 8, 2017 hail and wind storm;
               (b)     Suffered damages as a proximate result of the misconduct alleged; and

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                   (c)    Suffered and will continue to suffer other expenses, including loss of pre-
                          judgment interest, attorneys’ fees, investigatory gees, and other losses.

        WHEREFORE, Plaintiff, 7800 W Jewell LLC, respectfully requests this Court enter

judgment against Defendant, Truck Insurance Exchange, for damages resulting from its breach of

its duty of good faith and fair dealing, costs, pre-judgment interest, attorneys’ fees pursuant to

applicable law, and such other relief as the Court deems appropriate.

                                  THIRD CLAIM FOR RELIEF
                   (Unreasonable Delay and Denial of Payment of Covered Benefits
                          Pursuant to C.R.S. §§ 10-3-1115 and 10-3-1116)

        138.       Plaintiff re-alleges and reaffirms Paragraphs 1-137 as though fully set forth herein.

        139.       Under Colorado Revised Statute § 10-3-1115, an insurer who delays or denies

payment to an insured without a reasonable basis for its delay or denial is in breach of the duty of

good faith and fair dealing.

        140.       Under Colorado Revised Statute § 10-3-1115, an insurer’s delay or denial is

unreasonable if the insurer delayed or denied authorizing payment of a covered benefit without a

reasonable basis for that action.

        141.       Plaintiff is a first-party claimant within the meaning of Colorado Revised Statute §

10-3-1115(1)(b)(1).

        142.       Plaintiff suffered a loss covered by the Policy and submitted a claim for that loss to

Truck Insurance.

        143.       The claimed loss and damage submitted by Plaintiff was covered by the Policy and

Plaintiff was owed covered benefits under the Policy.

        144.       Truck Insurance delayed payment of covered benefits without a reasonable basis

for its actions.




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        145.   Truck Insurance denied payment of covered benefits without a reasonable basis for

its actions.

        146.   Truck Insurance has unreasonably delayed and denied covered benefits without a

reasonable basis for doing so as alleged in the preceding paragraphs of Plaintiff’s Complaint.

        147.   Truck Insurance delayed and denied payment of covered benefits without a

reasonable basis for its action by failing to properly investigate its insured’s loss.

        148.   Truck Insurance delayed and denied payment of covered benefits without a

reasonable basis for its action by providing a First Damage Estimate without having documented

a reasonable investigation based upon all information.

        149.   Truck Insurance delayed and denied payment of covered benefits without a

reasonable basis for its action by providing four damages estimate which do not include all covered

damages.

        150.   Truck Insurance delayed and denied payment of covered benefits without a

reasonable basis for its action by providing four damages estimate which improperly withheld

general contractor overhead and profit.

        151.   Truck Insurance delayed and denied payment of covered benefits without a

reasonable basis for its action by forcing Plaintiff to retain its own professionals to help properly

adjust the covered loss.

        152.   Despite receipt of Plaintiff’s comprehensive estimate, Truck Insurance denied and

delayed payment of covered benefits without a reasonable basis for doing so.

        153.   Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis to reduce overall claims payments.




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       154.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis to increase profits.

       155.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis to maintain its loss ratio.

       156.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis to meet department goals.

       157.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis by providing financial incentives to its personnel, including Joe Bartlett,

to determine claims handling.

       158.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis by motivating its claims department to pay less on claims, such as

Plaintiff’s, than what is otherwise owed.

       159.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis to reduce the average amount paid on overall claims.

       160.    Truck Insurance unreasonably denied and delayed payment of covered benefits

without a reasonable basis by asserting coverage positions that it knew were without merit.

       161.    Based upon the foregoing Paragraphs is therefore entitled to two times the covered

benefit, attorneys’ fees, and costs pursuant to C.R.S. § 10-3-1116, together with pre-judgment

interest at the highest rate allowed by law.

       WHEREFORE, Plaintiff, 7800 W Jewell LLC, respectfully requests this Court enter

judgment against Defendant, Truck Insurance Exchange, for damages authorized pursuant to

Colorado Revised Statute § 10-3-1116, costs, pre-judgment interest, attorneys’ fees pursuant to

applicable law, and other such relief as the Court deems appropriate.



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                               REQUEST FOR JURY TRIAL

      162.   Plaintiff requests trial by jury with respect to all claims and issues triable to a jury.

      Respectfully submitted this 3rd day of April, 2018



                                             /s/ Jonathan E. Bukowski
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